         Case 22-03389-eg                    Doc 3 Filed 12/09/22 Entered 12/09/22 07:30:28                                           Desc Ch 7
                                                First Mtg Notice (BNC) Page 1 of 1
Information to identify the case:
Debtor
                   Murden Construction, LLC                                                       Last 4 Digits of EIN 82−4441267
                   Name


United States Bankruptcy Court District of South Carolina
                                                                                                  Date case filed for chapter 7 12/9/22
Case number: 22−03389−eg

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can
be required to pay actual and punitive damages and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                       Murden Construction, LLC

2. All other names used in the
   last 8 years
3. Address                                  846 Dupont Road, Suite E
                                            Charleston, SC 29407
4. Debtor's attorney                        Richard A. Steadman Jr.                                            Contact phone 843/529−1100
                                            STEADMAN LAW FIRM PA
   Name and address                         P O Box 60367                                                      Email: rsteadman@steadmanlawfirm.com
                                            North Charleston, SC 29419
5. Bankruptcy trustee                       Kevin Campbell                                                     Contact phone (843) 884−6874
                                            PO Box 684
   Name and address                         Mount Pleasant, SC 29465                                           Email: kcampbell@campbell−law−firm.com
6. Bankruptcy clerk's office                J. Bratton Davis United States                                     Hours open 9:00 am − 5:00 pm
                                            Bankruptcy Courthouse
   Documents in this case may be            1100 Laurel Street
   filed at this address. You may           Columbia, SC 29201−2423                                            Contact phone: 803−765−5436
   inspect all records filed in this case
   at this office or online at                                                                                 Date: 12/9/22
   https://pacer.uscourts.gov.
7. Meeting of creditors                     January 30, 2023 at 09:30 AM                                       Location:
   The debtor's representative must         The meeting may be continued or adjourned to a later date. If      Telephonic. Call in number found at,
   attend the meeting to be                 so, the date will be on the court docket.                          www.scb.uscourts.gov/pdf/TeleMOC.pdf
   questioned under oath. Creditors
   may attend, but are not required to                *** Valid photo identification required ***
   do so.
8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
   Please do not file a proof of        If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
   claim unless you receive a notice to that you may file a proof of claim and stating the deadline.
   do so.
9. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.
10. Miscellaneous Notice                    The Voice Case Information System (VICS) will give status information on cases filed or converted after
                                            11/30/88. Call 1−866−222−8029. Please refer to the Court's website at www.scb.uscourts.gov for further
                                            information.
                                            Property of the estate may be abandoned by the trustee at the meeting of creditors unless creditors or parties
                                            in interest object to SC LBR 6007−1.
11. Options to Receive                      (1) Anyone can register for the Electronic Bankruptcy Noticing program at bankruptcynotices.uscourts.gov OR
    Notices Served by the                   (2) Debtors can register for electronic notice by filing local form 'Debtor's Electronic Noticing Request (DeBN)'
                                            with the Clerk of Court. Both options are FREE and allow the clerk to quickly send you court−issued notices
    Clerk by Email Instead of               and orders by email. See Local Rule 9036−1.
    by U.S. Mail
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 1
